       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 1 of 27




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Criminal No. 22-CR-76 (GMH)
               v.                             )
                                              )
ARIAN TAHERZADEH &                            )
HAIDER ALI,                                   )
           Defendants.                        )

                        AMENDED AFFIDAVIT IN SUPPORT OF
                             CRIMINAL COMPLAINT

       I, David Elias, being first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.      I am a Special Agent of the Federal Bureau of Investigation (FBI) and have been

so employed since August 2021. Prior to this date, I worked as a felony prosecutor in Cuyahoga

County, Ohio for over four years. As a prosecutor, I investigated and prosecuted violent crime

and drug-related offenses under state statutes. I am currently assigned to Squad CR-15 of the

FBI’s Washington Field Office, Northern Virginia Resident Agency, and tasked with investigating

allegations of public corruption and fraud. As a Special Agent, I have investigated violations of

federal statutes, including but not limited to public corruption, fraud, and other criminal matters.

In the course of my duties, I have conducted and participated in numerous investigations. Among

other things, I have participated in the execution of arrest and search warrants.

       2.      As a federal agent, I am authorized to investigate violations of laws of the United

States, and as a law enforcement officer I am authorized to execute arrest warrants issued under

the authority of the United States.




                                                  1
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 2 of 27




       3.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is

limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.

                                   PURPOSE OF AFFIDAVIT

       4.      This amended affidavit is submitted in support of the criminal complaint filed April

5, 2022, charging the defendants, ARIAN TAHERZADEH (hereinafter “TAHERZADEH”) and

HAIDER ALI (hereinafter “ALI”), with one count of False Impersonation of an Officer of the

United States, in violation of Title 18, United States Code, Section 912.

       5.      This affidavit is further intended to correct one mistake contained in the original

affidavit based on information obtained last night and to provide additional facts pertinent to

probable cause developed in the investigation. Specifically, the material changes to this affidavit

from the original affidavit are:

            a. In the Affidavit in support of the original Complaint, your Affiant stated that ALI

               was present when TAHERZADEH shot Witness 1 with an air rifle as part of a

               fraudulent law enforcement recruitment effort. See Aff. in Supp. of Crim. Compl.,

               ECF No. 1, at ¶ 7, 23. That information is incorrect. Last night, through an

               additional interview with Witness 1, the FBI learned that ALI was not in fact

               present when TAHERZADEH shot Witness 1 with the air rifle. Instead, Witness 1

               stated that ALI otherwise assisted in the fraudulent recruitment effort, as explained

               below, and was aware of the shooting because Witness 1 spoke with ALI about it.




                                                 2
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 3 of 27




               To be clear, Witness 1 has not changed his/her account of the event. The error in

               the original affidavit was result of a mistaken recollection by the FBI Special Agent

               who interviewed Witness 1 and orally related the details of that interview to me for

               purposes of my affidavit. When a review of the notes from that interview did not

               make clear that ALI was present for the shooting incident, the government

               undertook a re-interview of Witness 1 last night.

            b. This affidavit also contains additional information obtained from Witness 1,

               Witness 6, Witness 7, and Witness 8, which is pertinent to probable cause and is

               intended to further establish TAHERZADEH’s and ALI’s collaboration in the

               impersonation scheme.

            c. This affidavit also contains additional information obtained in connection with the

               arrests of TAHERZADEH and ALI, and about an LLC controlled by

               TAHERZADEH, “United States Special Police.”

       6.      This affidavit does not contain all the facts uncovered in the ongoing investigation,

but only those necessary to establish probable cause for Conspiracy and Impersonation of an

Officer.

                                          SUMMARY

       7.      From beginning as early as February 2020 through the present, TAHERZADEH

and ALI, have been falsely assuming and pretending to be officers or employees acting under the

authority of the United States government, specifically the Department of Homeland Security

(DHS), the Department of Justice (DOJ), and the Office of Personnel Management (OPM), and

have acted as such. TAHERZADEH and ALI, are not, in fact, employees of the DHS, DOJ, OPM




                                                 3
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 4 of 27




or any United States government agency. TAHERZADEH and ALI have represented themselves

as such to numerous people, many of whom are members of federal law enforcement agencies. In

furtherance of their false and fraudulent conduct, TAHERZADEH and ALI obtained paraphernalia

with the insignias of and firearms, including handguns and assault rifles, used by federal law

enforcement agencies.

       8.      During the course of their conduct, TAHERZADEH and ALI have attempted to use

their false and fraudulent affiliation with DHS and other government agencies to ingratiate

themselves with members of federal law enforcement and the defense community. Specifically,

TAHERZADEH has provided members of the United States Secret Service (USSS) and an

employee of DHS with, among other things, rent-free apartments (with a total yearly rent of over

$40,000 per apartment), iPhones, surveillance systems, a drone, a flat screen television, a case for

storing an assault rifle, a generator, and law enforcement paraphernalia. TAHERZADEH also

offered these individuals use of what TAHERZADEH represented to be “official government

vehicles.” In addition, TAHERZADEH offered to purchase a $2,000 assault rifle for a USSS

Agent assigned to the First Lady’s protective detail. As of April 4, 2022, as a result of this conduct,

four members of the USSS were placed on administrative leave pending further investigation.

       9.      In furtherance of their false and fraudulent conduct, TAHERZADEH and ALI

recruited individuals to be an “employee of DHS” and “serve on their task force.” In one instance,

TAHERZADEH required an applicant to be shot in the shoulder, twice, with an air rifle to “verify”

him/her (i.e. to evaluate his/her pain tolerance and reaction). Subsequent to being shot, the

applicant was informed that their hiring was in process. The applicant was also assigned to conduct

research on an individual that provided support to the Department of Defense and intelligence




                                                  4
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 5 of 27




community. In another instance, ALI, who represented himself to be an employee of the federal

government, took another applicant— as part of the recruiting process—to be fingerprinted and to

a shooting range for qualification and certification.


                                      PROBABLE CAUSE

                               Initial Investigation and Allegations

       10.     On March 14, 2022, a United States Postal Inspector (USPIS) responded to 949 1st

Street SE, in Washington, D.C., to investigate an alleged assault involving a United States Postal

Service (USPS) letter carrier. The apartment complex, located at 949 1st Street SE, is large and

contains multiple units on several floors. During the course of the investigation, the USPIS

inspector learned from individuals living at the apartment complex that two individuals, Arian

TAHERZADEH and Haider ALI, who represent themselves as Department of Homeland Security

Investigations (HSI) Special Agents, may have witnessed the assault.

       11.     The USPIS inspector then interviewed TAHERZADEH and ALI. Both individuals

also self-identified as investigators with the U.S. Special Police Investigation Unit (USSP). ALI

identified the USSP as part of DHS. Furthermore, ALI identified TAHERZADEH as an HSI

Special Agent. TAHERZADEH and ALI identified themselves as deputized “special police” with

the city government of the District of Columbia. TAHERZADEH and ALI claimed to be involved

in undercover gang-related investigations as well as conducting investigations related to the

violence at the United States Capitol on January 6, 2021.

       12.     The USPIS inspector also learned from other residents at 949 1st Street SE that

TAHERZADEH and ALI utilize several apartments in the complex. TAHERZADEH and ALI

told these residents that these apartments were being paid for by DHS.




                                                  5
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 6 of 27




       13.     The USPIS inspector was also informed that both individuals utilize a black GMC

SUV and describe it as their “official DHS vehicle.” According to residents, this vehicle is

equipped with emergency lights.

       14.     The USPIS inspector was also informed by residents that TAHERZADEH and ALI

have video surveillance set up in various parts of the 949 1st Street SE apartment complex.

Furthermore, TAHERZADEH and ALI represented to residents at the apartment complex that they

can access, at any time, the cellular telephones of residents of the apartment complex. These

residents stated that they believe that TAHERZADEH and ALI had access to personal information

of all the residents at the apartment complex.

       15.     The USPIS inspector determined that TAHERZADEH and ALI were in regular

contact with several members of the USSS, who also reside at 949 1st Street SE. These USSS

Agents were members of both the Uniformed and Protection divisions. The USPIS inspector

learned that TAHERZADEH and ALI had provided gifts to the USSS Agents and their families,

including, among other things, the use of their GMC SUV. Additionally, TAHERZADEH offered

to provide a rifle to a member of the USSS valued at approximately $2,000.

       16.     The USPIS Inspector provided this information to the DHS Office of Inspector

General, which then referred the information to the Federal Bureau of Investigation (FBI) for

further investigation. It was at this point that the FBI began its investigation, which corroborated

the statements of residents obtained by the USPIS Inspector.




                                                 6
        Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 7 of 27




                       FBI Interviews of Apartment Building Residents

                                           Witness 1

        17.   Witness 1 lived at 949 1st Street SE in Washington, D.C. Witness 1 is not employed

by any federal law enforcement entities.

        18.   In or around July 2021, TAHERZADEH represented to Witness 1 that he was a

Special Agent with HSI. TAHERZADEH represented that ALI was affiliated with HSI, but had

no arrest powers.

        19.   Witness 1 has seen TAHERZADEH’S DHS/HSI badge as well as credentials from

USSP.

        20.   Witness 1 observed TAHERZADEH carrying a firearm concealed on his person.

        21.   While in apartments controlled and maintained by TAHERZADEH, Witness 1 has

observed computer equipment, surveillance equipment, and servers.

        22.   TAHERZADEH also showed Witness 1 a “HSI casefile” of a person

TAHERZADEH was “working on.” The casefile was marked “Confidential.”

        23.   In or around mid-September 2021, TAHERZADEH “recruited” Witness 1 to serve

as an employee of HSI. According to Witness 1, because he/she believed that TAHERZADEH

was an employee of HSI, he/she agreed to pursue DHS/HSI employment through him.

TAHERZADEH represented that he had started the process of hiring Witness 1 as an employee of

DHS/HSI and that he also had authority to “deputize” individuals as employees of DHS/HSI.

        24.   During a discussion of roles in HSI, with ALI and TAHERZADEH, they told

Witness 1 that he would have to carry a firearm for certain jobs. At that point, ALI and




                                               7
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 8 of 27




TAHERZADEH showed Witness 1 that they were carrying handguns. Specifically, ALI possessed

what appeared to be a firearm concealed on his person, inside his waistband. 1

       25.     TAHERZADEH asked Witness 1 about his background.                    Witness 1 told

TAHERZADEH that he was divorced and, that as a result of a restraining order, he could not

possess a firearm. Witness 1 asked TAHERZADEH about handling a firearm with HSI and

TAHERZADEH responded that “we can take care of that.”

       26.     Subsequently, TAHERZDEH told Witness 1 that there was a private court hearing

with an agent and the restraining order was removed and/or redacted from the National Crime

Information Center (NCIC) and no longer in his background. Witness 1 told TAHERZADEH he

wanted to call an attorney, but TAHERZADEH told him that call would mess everything up and

that, as a result of the hearing, Witness 1 could now carry a firearm and credentials.

       27.     As part of the “HSI recruiting process,” TAHERZADEH tasked Witness 1 to

conduct research into an individual who worked for the United States government as a contractor.

Specifically, this individual provided support to the Department of Defense and Intelligence

Community.

       28.     Further, TAHERZADEH told Witness 1 that as part of the recruiting process,

TAHERZADEH would have to shoot Witness 1 with an air rifle in order to “verify” him—that is,

to evaluate Witness 1’s reaction and pain tolerance. According to Witness 1, because he/she

believed this was part of the DHS/HSI recruiting process he/she agreed to be shot and subsequently

was shot by TAHERZADEH twice, at least once in the shoulder.

1
 ALI’s Glock 19 with an inside the waistband concealed holster was recovered form Penthouse
5.




                                                 8
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 9 of 27




       29.     According to Witness 1, ALI was not present with TAHERZADEH when he shot

Witness 1 with the air rifle. Witness 1 stated that ALI was aware that TAHERZADEH was

recruiting Witness 1 for HSI and of the fact that TAHERZADEH had shot Witness 1 with an air

rifle. Witness 1 stated that ALI was aware of this because Witness 1 had discussed it with ALI

and further because Witness 1 understood, based on their representations, that ALI and

TAHERZADEH worked together in law enforcement, specifically HSI.

                                            Witness 2

       30.     Witness 2, a USSS Agent, assigned at times relevant to this affidavit to the First

Lady’s protection detail, lives at 949 1st Street SE in Washington, D.C.

       31.     On or about July 4, 2021, Witness 2 was introduced to TAHERZADEH, who

represented that he was an HSI Agent and that ALI was an HSI Analyst.                  Although

TAHERZADEH was very outspoken about his job with HSI, he claimed that he was part of a

covert task force.

       32.     According to Witness 2, TAHERZADEH made it clear that he is the “go-to guy” if

a resident needs anything in the building. TAHERZADEH provided gifts or favors for residents,

many of whom were members of law enforcement, including the FBI, USSS, or DHS, or

employees of government agencies, including the Department of Defense and Navy. For instance,

TAHERZADEH previously loaned out his “government vehicle” to Witness 2’s wife, and also

provided her with a generator. TAHERZADEH offered to provide Witness 2 an AR-15 style rifle

that is valued at around $2,000.

       33.     Witness 2 confirmed that TAHERZADEH and ALI both live at 949 1st Street SE.

Witness 2 stated ALI lives in a separate apartment on the floor below TAHERZADEH.




                                                9
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 10 of 27




       34.    Witness 2 noted that TAHERZADEH’S primary apartment has numerous security

cameras. TAHERZADEH has shown Witness 2 security footage from various areas of the

apartment complex, indicating that he had gained access to the security system for the entire

apartment complex. Subsequent investigation revealed that many residents in this apartment

complex are affiliated with federal law enforcement agencies.

       35.    In furtherance of his efforts to represent himself to be a member of DHS/HSI,

TAHERZADEH sent Witness 2 a photo in an HSI “vest” (see below).




       36.    Witness 2 has also seen several other photos of TAHERZADEH in police tactical

gear. TAHERZADEH sent Witness 2 these photos (see below).




                                               10
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 11 of 27




       37.    TAHERZADEH has sent Witness 2 several photos of police gear in

TAHERZADEH’S apartment (see below). In the first photo, Pelican cases, which are often used

to carry firearms, appear on a shelf behind TAHERZADEH.




                                            11
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 12 of 27




       38.    On February 22, 2022, TAHERZADEH sent Witness 2 pictures of what

TAHERZADEH claimed to be an HSI in-service training (see below). The investigation revealed

that the photo TAHERZADEH sent is a stock photo from the internet, and there is no record that

TAHERZADEH participated in any HSI training.




       39.    While in TAHERZADEH’s primary residence, Witness 2 saw a Federal Law

Enforcement Training Center (hereinafter “FLETC”) training certificate that he/she believed to be

associated with TAHERZADEH.




                                               12
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 13 of 27




       40.       On multiple occasions in 2021 and 2022, Witness 2 observed TAHERZADEH

carrying a Glock 19 Generation 5 firearm with a TLR-7A Streamlight flashlight attachment.

Witness 2 also observed TAHERZADEH carrying this firearm concealed with an inside-the-

waistband holster. TAHERZADEH told Witness 2 that this was his HSI-issued firearm. Witness

2 has seen TAHERZADEH wear this firearm in public, outside of his apartment as well as inside

the apartment.

       41.       On or about February 2, 2022, Witness 2 told TAHERZADEH that on February 17,

2022, Witness 2 would be attending USSS’s Glock transition course. Witness 2’s federal agency

was in the process of transitioning from P229 Sig Sauer to Glock 19 Generation 5 as the issued

service weapon. At some point after Witness 2 had received the issued Glock 19 Generation 5,

TAHERZADEH made a comment “we are all transitioning to the Glock 19s in DHS.” After

TAHERZADEH made that comment, TAHERZADEH pulled a concealed Glock 19 Generation 5

from his appendix area. TAHERZADEH demonstrated that his was identical to Witness 2’s issued

Glock 19 Generation 5, to include the TLR-7A Streamlight flashlight attachment.

       42.       On or about the second week of March 2022, TAHERZADEH appeared at Witness

2’s apartment carrying a Glock 19 Generation 5 in a Ayin Tactical Holster. TAHERZADEH stated

that he had an extra holster and wanted to give Witness 2 the Ayin Tactical Holster for Witness

2’s newly issued Glock 19 Generation 5. Witness 2 is still in possession of this holster.

                                            Witness 3

       43.       Witness 3, a member of the USSS, Uniformed Division, assigned at times relevant

to this affidavit to protect the White House complex, lived in a penthouse apartment at 949 1st

Street SE, in Washington, D.C. from approximately February 2021 to January 2022.




                                                13
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 14 of 27




       44.     TAHERZADEH introduced himself to Witness 3 as an HSI agent.

TAHERZADEH told Witness 3 that he is currently in a gang unit with DHS, and that

TAHERZADEH used to work in crimes against children. Witness 3 stated that TAHERZADEH’S

credentials say ICE on them and indicate that he is a Special Agent.

       45.     TAHERZADEH provided Witness 3 with a rent-free penthouse apartment for

approximately one year, which cost approximately $40,200.              According to Witness 3,

TAHERZADEH paid for another federal law enforcement officer’s rent in the apartment complex.

       46.     Witness 3 confirmed that TAHERZADEH lives in and has several apartments in

the complex.

       47.     Witness 3 stated that he/she received an email from what he/she believed to be

TAHERZADEH’S DHS email: ataherzadeh@dhs.ussp.us. Witness 3 also recalled that the email

he/she received from this address has disclaimers regarding receiving information from a federal

agency. Subsequent investigation confirmed that this email address is false and fraudulent, and

not a genuine United States government email address.

       48.     While in TAHERZADEH’s primary residence, Witness 3 observed that

TAHERZADEH possessed FLETC training certificates and a Private Identity Verification card,

commonly referred to as a “PIV card,” which Witness 3 saw TAHERZADEH use to access a

laptop that is labeled with a “DHS” symbol. Witness 3 stated that he/she saw a federal logon

privacy notice when TAHERZADEH logged onto his DHS computer.

       49.     Beginning in 2021, Witness 3 observed TAHERZADEH carrying a Glock 19, but

cannot state how recently that occurred. The most recent date possible is January 2022.




                                               14
         Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 15 of 27




         50.   TAHERZADEH provided Witness 3 with gifts including, an HSI coin and DHS

patch.

         51.   Witness 3 confirmed that ALI lives in the apartment complex, though he/she could

not specify where ALI works.

                                           Witness 4

         52.   Witness 4 is a Document Analysis Expert with DHS-HSI and lives in the apartment

complex located at 949 1st Street SE, Washington, D.C.

         53.   In or around June of 2021, TAHERZADEH approached Witness 4 and told him/her

he knew Witness 4 was affiliated with HSI or possibly the United States Citizenship Immigration

Service (USCIS), which is in DHS. TAHERZADEH told Witness 4 that he was an HSI Agent but

that he was working undercover. Witness 4 talked to her supervisors about TAHERZADEH and

was unable to verify his information through HSI internal databases. When Witness 4 confronted

TAHERZADEH about this inability to locate his name in the HSI database, TAHERZADEH

claimed that his name was redacted due to his undercover status.

         54.   Witness 4 observed TAHERZADEH carrying a weapon, which he/she believes is

a handgun, and stated that TAHERZADEH always carries it.

         55.   TAHERZADEH claimed to Witness 4 that he has a list of all of the federal agents

in the apartment complex. Witness 4 stated that TAHERZADEH has codes to the elevators that

gives him access to every floor, which is beyond what a normal resident possesses.

         56.   While in TAHERZADEH’s primary residence, Witness 4 saw a significant amount

of law enforcement paraphernalia, including SWAT vests, a large safe, computers, a high-powered




                                               15
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 16 of 27




telescope and internal surveillance cameras in his apartment. TAHERZADEH has shown Witness

4 surveillance footage from around the apartment complex.

                                           Witness 5

       57.    Witness 5 is a member of the USSS, Uniformed Division, assigned at times relevant

to this affidavit to protect the White House complex, and lived in a three-bedroom apartment at

949 1st Street SE, in Washington, D.C. from February 2021 to January 2022.

       58.    Throughout that period, TAHERZADEH provided Witness 5 with a rent-free three-

bedroom apartment, with an estimated value of approximately $48,240.                Specifically,

TAHERZADEH told Witness 5 that HSI had approved extra rooms as part of his operations, and

that Witness 5 could live in one of them for free. The investigation confirmed that there are no

such HSI operations and that it authorized no such expense

       59.    TAHERZADEH claimed to be an agent with HSI in the gang unit.

TAHERZADEH told Witness 5 that being a special police officer, part of USSP, was the “front

end” of his HSI task force. Witness 5 has seen TAHERZADEH tell other individuals at 949 1st

Street that he is an HSI agent and detail the training to become an HSI agent. Witness 5 has seen

TAHERZADEH interact with the Metropolitan Police Department (MPD) while wearing HSI

gear. For instance, according to Witness 5, on one occasion MPD responded to the apartment

complex because of a complaint that TAHERZADEH was wearing police equipment. Witness 5

stated that MPD responded to the scene but did not take any action.

       60.    Witness 5 recalled that TAHERZADEH had a PIV card, which he believes said

DHS on it, and that the background on TAHERZADEH’s computer had “DHS information.”

TAHERZADEH showed Witness 5 an HSI badge and special police officer credentials. Witness




                                               16
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 17 of 27




5 said that TAHERZADEH identified himself primarily as DHS/HSI, but he carried the special

police officer badge on his person more often. Witness 5 has seen DHS/HSI on TAHERZADEH’S

ballistic vest as well.

        61.     Since approximately February 2020, Witness 5 has seen TAHERZADEH carry a

Glock 19 on his person. Prior to the Glock, Witness 5 saw TAHERZADEH with a 226 or 229

handgun. TAHERZADEH would carry the Glock 19 on his belt, both concealed and overt.

Witness 5 has examined these firearms and believed them to be real. Witness 5 also saw live

rounds. Witness 5 has also seen TAHERZADEH shoot a Glock 19 at the gun range. Witness 5

also shot one of TAHERZADEH’S AR-15 style rifles at the gun range. Witness 5 provided a

video of TAHERZADEH using a rifle matching this description at a gun range in Northern

Virginia.

        62.     Witness 5 has seen TAHERZADEH drive two black “Tahoe” like vehicles and an

Impala equipped with police lights.

        63.     While in TAHERZADEH’s primary residence, Witness 5 recalled seeing a desktop

computer, cameras, and a gun locker. On the walls of the apartment, Witness 5 saw a FLETC

certificate and “Police 1” certificates. Witness 5 also saw DHS patches, a handgun, a rifle, and

Airsoft guns. Witness 5 recalled that the rifle was kept in TAHERZADEH’S office in his primary

residence and that a gun was hidden under a desk in the living room.

        64.     While in another apartment maintained and controlled by TAHERZADEH,

Witness 5 recalled seeing police equipment, computer monitors, and a computer server.

TAHERZADEH told Witness 5 that all of this equipment was for use in connection with the HSI

task force.




                                               17
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 18 of 27




       65.      TAHERZADEH gave Witness 5 gifts, including a drone, a gun locker, and a

Pelican case.

       66.      Witness 5 stated that TAHERZADEH also rents a number of other apartments in

the building.

       67.      In or around January 2022, Witness 5 moved out of the rent-free apartment

TAHERZADEH provided him. Witness 5 then observed TAHERZADEH began moving law

enforcement and computer equipment into that apartment.

       68.      Witness 5 said that TAHERZADEH has full access to all floors of the apartment

complex and some restricted areas, and believes TAHERZADEH spoke with management of the

apartment complex and was able to get access to these areas because of his HSI operation. Witness

5 further stated that TAHERZADEH has a document, which he/she has seen, containing the names

and room numbers of residents in the apartment complex.

       69.      TAHERZADEH told Witness 5 that ALI took care of all administrative issues with

TAHERZADEH’S HSI task force.

                                           Witness 6

       70.      Witness 6, a former United States Marine, stated that ALI represented himself to

be an employee of the federal government. TAHERZADEH represented himself to be an HSI

Agent and ALI to be a federal official of the Office of Personnel Management (OPM) with

investigative authority.

       71.      TAHERZADEH told Witness 6 that USSP was setup and funded by the federal

government. Specifically, TAHERZADEH told Witness 6 that USSP was setup as a private

organization in order to allow the government to avoid the Freedom of Information Act (FOIA).




                                               18
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 19 of 27




        72.     TAHERZADEH told Witness 6 that he had Special Police credentials with MPD

because, in his role as an HSI Agent, he did not have local arrest authority and the Special Police

credentials provided him that authority. TAHERZADEH also told Witness 6 that he did not carry

his HSI credentials because he is not permitted to carry two sets of credentials at the same time.

        73.     Witness 6 stated that building management, as well as Witness 3 and Witness 5,

(both of whom lived in the building), also told Witness 6 that TAHERZADEH was an HSI Agent.

        74.     According to Witness 6, TAHERZADEH and ALI recruited Witness 6 to be

“deputized” through MPD as a special police officer, which TAHERZADEH would allow Witness

6 to assist TAHERZADEH and ALI in HSI operations. TAHERZADEH encouraged Witness 6

to be deputized, stating it would “open many doors” for Witness 6, such as obtaining a higher

security clearance. Based on these representations, Witness 6 understood that ALI’s role in the

deputization process was to facilitate it, and that TAHERZADEH’s role was to be the “team lead.”

        75.     TAHERZADEH had Witness 6 fill out a detailed application, which was notarized.

In addition, while in TAHERZADEH’s apartment and another apartment maintained and

controlled by TAHERZADEH, TAHERZADEH administered two urine tests and implemented a

fingerprint test on Witness 6.     TAHERZADEH told Witness 6 that he had submitted the

fingerprints to the FBI for review. TAHERZADEH later provided Witness 6 with a letter on FBI

letterhead stating that the fingerprint review had been completed and there had been “no prior

arrest data at the FBI.” Witness 6 provided this letter to the FBI, which is still investigating the

letter’s authenticity.

        76.     In or around May 2021, ALI provided Witness 6 with information and fee

requirements for a shooting certification course which Witness 6 understood to be part of the




                                                19
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 20 of 27




recruitment process. ALI took Witness 6 to a firearms range in Upper Marlboro, Maryland. When

they arrived at the range, ALI provided Witness 6 with a Glock 19 and ammunition which Witness

6 had seen ALI had transport from Washington D.C. Witness 6 shot a qualification course and

received a certificate title “Armed Special Officer Firearms Course Certificate.” At the end of the

certification course, Witness 6 returned the Glock 19 to ALI and was driven back to Washington,

D.C. In the course of this investigation, Witness 6 provided the FBI with a copy of the certificate.

       77.     In or around June 2021, ALI texted Witness 6 and asked him to meet him

downstairs outside the apartment building. ALI then discussed with Witness 6 progress in the

application process.

       78.     TAHERZADEH told Witness 6 that a local fingerprint scan was required at MPD

and that he had scheduled an appointment for Witness 6 to get the scan on June 28, 2021. Witness

6 went to MPD headquarters in Judiciary Square on the designated day but was turned away

because he/she was told that he/she did not have an appointment. TAHERZADEH provided

Witness 6 with a second date and time to be fingerprinted at MPD, but when he arrived he was

denied a second time.

       79.     According to Witness 6, in or around July 2021, ALI accompanied him and Subject

1 to MPD to get them fingerprinted. At the main check-in desk, ALI showed the MPD employee

his badge and/or his credentials and was able to bypass security without being screened.

       80.     ALI was permitted to escort Witness 6 and Subject 1 through the building and up

to the fingerprint office. ALI showed his badge and told the MPD employees that he did not have

a scheduled appointment, but an MPD sergeant should have contacted the office to make sure they

could get fingerprinted. Witness 6 also believes, at that time, ALI identified himself as some form




                                                20
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 21 of 27




of law enforcement but he could not be certain. After a period of arguing with the MPD fingerprint

staff, ALI escalated the issue to a supervisor in private and, subsequently, Witness 6 had his

fingerprints taken.

       81.       Witness 6 stated that he would not have participated in the “deputization” process

or agreed to be fingerprinted if he did not believe that TAHERZADEH was a federal agent with

Homeland Security and that ALI was a federal official at OPM with investigative authority.

       82.       TAHERZADEH created an email account for Witness 6 that contained his name

and @dhs.ussp.us. Witness 6 thought this was a DHS email account due to the “@dhs” in the

email address.

       83.       According to Witness 6, TAHERZADEH told him that he needed to obtain a

firearms certification and qualify with a Glock 19 in order to work as a “deputy” for

TAHERZADEH.

       84.       Witness 6 also stated that, while in an TAHERZADEH’s apartment, he observed a

Glock 19 firearm and a Sig Sauer 229 firearm in the presence of both TAHERZADEH and ALI.

Specifically, while in TAHERZADEH’s apartment, using live firearms, ALI and TAHERZADEH

would conduct weapons handling drills, including disarming an armed subject, “tap and racks”

involving loading and clearing the weapon, and holstering and unholstering of the sidearm.

       85.       In addition, Witness 6 reported seeing an AR-15/M-4 variant rifle with a

suppressor, which had also been modified to be an illegal automatic weapon—on multiple

occasions—in TAHERZADEH’s apartment.

       86.       Witness 6 also saw TAHERZADEH in possession of an AR Pistol with a modified

brace, which TAHERZADEH said belonged to an USSS Agent.




                                                 21
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 22 of 27




                                           Witness 7

       87.     Witness 7, a resident of Washington, D.C., stated that one night in early February

2022, Witness 7 and his/her friends went to The Mayflower Club in Dupont Circle. That evening,

while at the club. ALI claimed he was a federal law enforcement officer and worked for the federal

government.

       88.     At the end of the night, ALI offered to drive Witness 7 and his/her friends home

from the club. During the ride, Witness 7 and his/her friends joked about whether ALI actually

worked for the government. According to Witness 7, that joke prompted ALI to change his

demeanor and show the group different pieces of “government” identification including what

appeared to be a building access badge and badge. At that point, ALI specified that he worked for

the Department of Justice. ALI and Witness 7 exchanged numbers and continued to text on and

off in the following weeks.

       89.     In or around February 2022, Witness 7 was out with two of his/her friends at a bar

and ALI offered to send them an UBER to bring them back to 949 1st Street SE, Washington, D.C.,

his apartment building.

       90.     Witness 7 and his/her friends arrived at the designated apartment, where they met

TAHERZADEH. At that point, ALI was not present nor did the apartment appear to belong to

ALI. Indeed, the apartment they went to belonged to TAHERZADEH

       91.     According to Witness 7, TAHERZADEH stated that ALI worked for/with him and

would arrive shortly. TAHERZADEH claimed to work for a special law enforcement unit

affiliated with DHS and responsible for investigating federal crimes. TAHERZADEH also

claimed to have prior military experience. In furtherance of these claims, Witness 7 said,




                                               22
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 23 of 27




TAHERZADEH produced identification cards, including a military identification card, a badge

displaying law enforcement markings, and a card that displayed a DHS identifier.

       92.     At some point in the night, before ALI arrived, the group got into a verbal

altercation about Black Lives Matter and Blue Lives Matter. TAHERZADEH, being more

politically conservative, allegedly got upset and “freaked out.” TAHERZADEH claimed that he

owned guns and that if Witness 7 and her friends were men and stated their political beliefs in his

home, he would have shot them.

       93.     ALI then arrived with an individual that ALI described as a USSS Agent.

       94.     TAHERZADEH gave the Witness 7 a tour of the apartment and showed them his

“security room” and stated that, in order to work for DHS, one needed a dedicated room for

documents and computers. Witness 7 observed a handgun in plain view which TAHERZADEH

said belonged to the USSS Agent.          Witness 7 also observed a handgun holstered on

TAHERZADEH’s hip. TAHERZDEH told the group that the apartment was paid for by DHS.

                                            Witness 8

       95.     Witness 8 manages the parking garage located at 949 1st Street SE, Washington,

D.C.

       96.     On or about December 1, 2020, Witness 8 was notified by apartment management

that “United States Special Police Officers” were becoming residents of the complex.

       97.     ALI told Witness 8 that he moved to the apartment complex because he was in

Washington, D.C. for a special assignment, detailed to the White House. ALI told Witness 8 that

he needed to park five vehicles at the apartment complex. He also represented that they were




                                                23
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 24 of 27




government vehicles necessary for his detail. The cost of parking the vehicles was $1,525 per

month ($258.48 per vehicle).

       98.     Witness 8 asked ALI who would be paying the bill for all (5) vehicles and if it

would be a GSA contract. ALI responded not to worry about it as it would be “taken care of.”

Witness 8 understood that the parking permits would be paid by the Federal Government.

       99.     By May 2021, USSP’s parking bill had not been paid. WITNESS 8 and the staff

continuously reached out to ALI regarding the bill and ALI always used the excuse that he was

extremely busy with his detail with the White House and his investigations. ALI requested that

the parking transponder not be discontinued because he needed the vehicles for his investigation.

       100.    In or around May 2021, ALI contacted Witness 8 in a three-way call with “Kevin

Fuller,” who ALI introduced to be his direct supervisor at United States Special Police. 2 “Kevin

Fuller” assured Witness 8 that the payment for parking would soon be arriving. By this time, the

parking bill was approximately $7,854.50.

       101.    Beginning in or around June 2021, the USSP account was threatened to be

suspended, and the existing permit holders, which included ALI, Witness 3, and Witness 5, who

were under the USSP account, were required to individually pay their monthly parking fee.

       102.     Witness 8 stated that he never observed ALI with any weapons. However, during

a period of time when the garage was offering to valet cars, ALI told Witness 8 that he could not

have ALI’s vehicles valet parked because of the weapons he has in his vehicle.


2
  During a post-arrest interview, TAHERZADEH admitted that Kevin Fuller was a false and
fictious person that was used to also sign the apartment lease.




                                               24
      Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 25 of 27




       103.    Witness 8 also stated that ALI approached the parking attendants and requested

tools to remove a “boot” that was installed on a resident’s vehicle. ALI said he was authorized to

remove the boot because of his law enforcement status.

         Information Obtained Arising from the Arrests of TAHERZADEH and ALI

       104.    On April 6, 2022, TAHERZADEH and ALI were arrested together at a restaurant

in Southeast Washington, D.C., after being seen leaving 949 1st Street together. That arrest led to

additional information pertinent to the investigation.

       105.    For instance, during a post-arrest interview TAHERZADEH admitted to much of

the conduct above. Specifically, he admitted that:

                a. He had falsely identified himself as a member of the Department of Homeland

                    Security;

                b. He had falsely identified himself as a former United States Army Ranger;

                c. The Sig Sauer 229 firearm belonged to him and was in his possession;

                d. The Glock 19 firearm belonged to ALI, but TAHERZADEH had possessed it

                    as well;

                e. He offered to provide a USSS agent with an assault rifle;

                f. He provided free apartments to two USSS agents for approximately one year;

                g. He had provided a “doomsday bag,” generator, flat screen television, two

                    iPhones, a drone, a gun locker, a Pelican case, and a mattress to agents and

                    officers of the USSS;




                                                 25
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 26 of 27




                h. He did in fact shoot someone, identified in the complaint as Witness 1, with

                    an Airsoft gun 3;

                i. Subsequent to ALI representing to the Postal Inspector that TAHERZADEH

                    and ALI were part of DHS and then being questioned by the inspector,

                    Taherzadeh began deleting law enforcement related material from his social

                    media. Metadata recovered from TAHERZADEH’s phone also shows that he

                    deleted photos not only from social media, but from his phone;

                j. ALI had obtained the electronic access codes and a list of all of the tenants in

                    the apartment complex.

                k. ALI was the individual that funded most of their day-to-day operation but

                    TAHERZADEH did not know the source of the funds.

                                        Corporate Records

        106.    “United Special Police LLC” (USSP) is a Washington, D.C., limited liability

company, with a registered address associated with a residence maintained and controlled by

TAHERZADEH. TAHERZADEH is the beneficial owner of USSP.

        107.    On USSP’s website, USSP is described as a private law enforcement, investigative,

and protective service headquartered in Washington, D.C. The website goes on to say that USSP

can provide law enforcement, protective services, and investigative services within a contracted

jurisdiction.




        3
         Taherzadeh claimed that this was not part of the DHS recruitment process and that he
allowed the individual to shoot him as well with the Airsoft rifle.




                                                26
       Case 1:22-mj-00076-GMH Document 25-1 Filed 04/19/22 Page 27 of 27




                                          CONCLUSION

       108.    Based on my training and experience, and the information provided in this amended

affidavit, there is probable cause to believe that as early as February 2020, in the District of

Columbia and elsewhere, ARIAN TAHERZADEH and HAIDER ALI did falsely assume or

pretend to be an officer or employee acting under the authority of the United States or any

department, agency or officer thereof, and acts as such, in violation of Title 18, United States Code,

Section 912.




                                               David Elias
                                               Special Agent, Federal Bureau of Investigation


Sworn and subscribed to before me this _____ day of April, 2022,



The Honorable G. Michael Harvey
United States Magistrate Judge




                                                 27
